Case 1:13-cv-04483-RMB-AMD            Document 21      Filed 02/14/14      Page 1 of 1 PageID: 99




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

                                     :
 SHARE THE LOVE MINISTRIES           :
                                     :
             Plaintiff               :               Civil No. 13-cv-04483-RMB-AMD
                                     :
             v.                      :
 RANCH HOPE, INC                     :
 LEARNING DISABILITIES SOCIETY, INC. :                  STIPULATION OF DISMISSAL
 REV. DAVID L. BAILEY, SR.           :
 DAVID L. BAILEY, JR.                :
                                     :
 Defendants.                         :
 TO THE CLERK:

        Kindly mark all claims and counterclaims as dismissed as to all parties in the above

 captioned matter. It is hereby stipulated and agreed that all claims and counterclaims by and

 between Share The Love Ministries, Ranch Hope, Inc., Learning Disabilities Society, Inc. Rev.

 David L. Bailey, Sr. and David L. Bailey, Jr. individually and as agents in the above-captioned

 matter are DISMISSED from this action WITH PREJUDICE, and without costs or payment of

 any kind.

 Winston Law Firm, LLC

 s/Daryl Winston_______________               s/Jean Chetney_________________
 By: Daryl Winston, Esq.                      Jean S. Chetney, Esq.
 Attorney for Plaintiff/Counterclaim          Attorney for Learning Disabilities Society, Inc.;
 Defendant Share The Love Ministries          Rev. David L. Bailey, Sr. and David L. Bailey, Jr.,
                                              individually and as agents of LDS
 Folkman Law Offices, P.C.

 s/Benjamin Folkman____________
 By: Benjamin Folkman, Esq.
 Attorney for Ranch Hope, Inc.;
 Rev. David L. Bailey, Sr. and
 David L. Bailey, Jr., individually
 and as agents of Ranch Hope, Inc.            Date: February 13, 2014
